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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
ex rel. AZAM RAHIMI, et al.,

       Plaintiffs,

v.                                                       No. 15-CV-1038 MCA-WPL

AMPHASTAR PHARMACEUITICALS,
et al.,

       Defendants.

                           ORDER GRANTING DISMISSAL

       THIS MATTER is before the Court on Relator’s Rule 41 Notice of Voluntary

Dismissal [Doc. 15], in which Relator: gave notice of his voluntary dismissal of all

claims asserted in his Original Complaint; indicated the consent of the United States and

all Plaintiff states to dismissal without prejudice as to their claims; and requested

dismissal without prejudice as to the United States and the Plaintiff States.

       The Court, having considered the submissions, the relevant law, and otherwise

being fully advised in the premises, hereby GRANTS DISMISSAL WITHOUT

PREJUDICE of the claims by Relator, the United States, and the Plaintiff States.

       SO ORDERED this 27th day of June, 2017, in Albuquerque, New Mexico.




                                                  _________________________________
                                                  M. CHRISTINA ARMIJO
                                                  Chief United States District Judge
